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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


UNITED STATES OF AMERICA


VS.                                    4:04CR00291-8 GH/JTR


FORRESTINE HOOD

                                              ORDER

       The Court has reviewed the Proposed Findings and Recommended Disposition submitted

by United States Magistrate Judge J. Thomas Ray and the filed objections. After carefully

considering these documents and making a de novo review of the record in this case, the Court

concludes that the Proposed Findings and Recommended Disposition should be, and hereby are,

approved and adopted in their entirety as this Court's findings in all respects.

       IT IS THEREFORE ORDERED that Defendant’s Motion to Modify Sentence (docket entry

#626) is denied, without prejudice.

       DATED this 18th day of October, 2006.



                                              ________________________________________
                                              UNITED STATES DISTRICT JUDGE
